         Case 1:17-cr-00123-LAP Document 864 Filed 11/09/20 Page 1 of 7



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,

-against-                                       No. 17-CR-123 (LAP)

ANGEL GUANCE,                                           ORDER

                       Defendant.

LORETTA A. PRESKA, Senior United States District Judge:

       Before the Court is Defendant Angel Guance’s motion for

compassionate release based on the COVID-19 pandemic.             (Dkt. no.

837). The Government opposed the motion, (dkt. no. 841), and

Defendant did not file a reply.         For the reasons set out below,

the motion is DENIED.

  I.      Background

       Defendant was a member of “075,” a violent gang of drug

dealers that controlled the area around Weeks Avenue in the

Bronx.     (See Final Presentence Investigation Report (“PSR”),

dkt. no. 335, at ¶¶ 11-17, 72.)         He had moved to New York from

Florida in about 2015, by which time he had sustained two

arrests in Florida for offenses including vehicle theft, home

invasion with a firearm, and possession of cocaine with intent

to sell.     (Id. ¶¶ 72, 115-16.)      In New York, Defendant continued

his involvement in the drug trade and sold crack primarily for

Rafael Romero, second in command to 075 gang leader Edwin

Romero, and Elimanuel Diaz around Weeks Avenue, East 175th


                                       1
        Case 1:17-cr-00123-LAP Document 864 Filed 11/09/20 Page 2 of 7



Street and the Grand Concourse.        (Id. ¶¶ 11-17, 72.)      During

this time, Defendant pleaded guilty to selling crack and was

sentenced to five years’ probation.         (Id. ¶¶ 72, 110.)     Despite

his probation, he continued to sell drugs with 075 members.

(Id. ¶ 72.)

       As set out at length in the PSR, 075 members had access to

communal firearms to protect their turf, combat rival gangs,

commit robberies, and otherwise sow violence throughout the

neighborhood.     (Id. ¶¶ 16-17, 72.)      For example, over a few

months in 2016, two children were shot and suffered nearly fatal

injuries, a robbery victim was stomped and then shot three

times, Edwin Romero was shot multiple times, and Jose Morales

was executed by rival drug dealers.         (Id.)

       Defendant was charged with conspiring to distribute and

possess with intent to distribute 280 grams and more of crack

and quantities of heroin, cocaine, and marijuana, in violation

of 21 U.S.C. §§ 846 and 841(b)(1)(A), and using, carrying,

possessing, brandishing, and discharging firearms, in violation

of 18 U.S.C. §§ 924(c)(1)(A)(i), (ii), and (iii).           (Id. ¶¶ 2,

4.)    He pleaded guilty to conspiring to distribute crack, in

violation of 21 U.S.C. §§ 846 and 841(b)(1)(C).           (Id. ¶¶ 7,

98.)    The parties agreed that the Guidelines range was 51-63

months, based on a Total Offense level of 23 and a Criminal

History Category of II.       (Id. ¶ 8.)

                                      2
      Case 1:17-cr-00123-LAP Document 864 Filed 11/09/20 Page 3 of 7



     At sentencing, the Court denied the Defendant’s request for

a variance based on the seriousness of the offense conduct, his

prior arrests for similar conduct in Florida, the fact that he

committed the offense conduct while on state probation, his lack

of a single instance of legitimate employment despite his having

a high school diploma, and his disciplinary record at the BOP.

(Sentencing Transcript, dkt. no. 502, at 8-9.)         Accordingly,

Defendant was sentenced primarily to 51 months’ incarceration.

(Id. at 10.)

     In addition to the BOP infractions the Court referred to at

Defendant’s sentencing--namely, refusal to obey an order from a

BOP official and insolence toward a staff member--it appears

that the very day before sentencing, Defendant had been found

guilty after a BOP disciplinary hearing of a second incident of

insolence toward a staff member and refusal to obey an order.

(See Dkt. no. 841, Ex. E, at 1.)        Thereafter, at FCI Allenwood,

he sustained two more serious infractions: in 2018, possession

of an unlawful (although not dangerous) tool, and, in 2019,

possession of a weapon, which he admitted was his.          (See id.)

     Defendant is 31 years old and suffers from asthma, which is

well controlled, intellectual disabilities, and mental disorders

and has a prior history of smoking.       His medical records, filed

under seal as Exhibits A-D to the Government’s papers, indicate

that, as of August 2017, he had used his albuterol inhaler only

                                    3
         Case 1:17-cr-00123-LAP Document 864 Filed 11/09/20 Page 4 of 7



twice in six weeks.       (Dkt. no. 841, Ex. A at 1.)       The records

also indicate that Defendant’s last asthma attack was a year

before that, and no other attacks are indicated while in BOP

custody.     (Id. at 11.)    Defendant’s medical records also

indicate that he engages in exceedingly vigorous exercise:                They

note that in 2018, he suffered a cut above his eye which he

described as having occurred “when I was going for the spin-

move-lay up” while playing basketball.          (See dkt. no. 841, Ex. C

at 20.)     In 2019, he was treated for a dislocated finger, also

sustained while playing basketball.          (Id. at 9.)

     On August 6, 2020, Defendant made a request for

compassionate release to the Warden, which request was denied on

September 1, 2020.       (See dkt. no 837 at 2.)

  II.     Applicable Law

     Defendant moves for a reduction of his term of imprisonment

under 18 U.S.C. § 3582(c)(1)(A), as modified by the First Step

Act of 2018, Pub. L. No. 115-391, § 603, 132 Stat. 5194, 5239

(2018). 1    Under that provision, the Court may reduce Defendant’s

sentence if it finds that (1) “extraordinary and compelling




     1 A defendant may bring such motion after he “has fully
exhausted all administrative rights to appeal a failure of the
Bureau of Prisons to bring a motion on [his] behalf or the lapse
of 30 days from the receipt of such a request by the warden of
the defendant’s facility, whichever is earlier.” 18 U.S.C.
§ 3582(c)(1)(A). The Government does not dispute that this
requirement is satisfied.
                                       4
         Case 1:17-cr-00123-LAP Document 864 Filed 11/09/20 Page 5 of 7



reasons warrant such a reduction” and (2) “such a reduction is

consistent with applicable policy statements issued by the

Sentencing Commission.”        18 U.S.C. § 3582(c)(1)(A).       The

relevant Guidelines policy statement counsels that a reduction

also is not proper unless “[t]he defendant is not a danger to

the safety of any other person or to the community.” 2

     Under the First Step Act, the Court may exercise its

“discretion in determining what are extraordinary

circumstances.”      United States v. Brooker, 976 F.3d 228, 234 (2d

Cir. 2020).       But a court’s finding such circumstances merely

permits a defendant’s release--it does not mandate it.             See,

e.g., United States v. Ebbers, 432 F. Supp. 3d 421, 430

(S.D.N.Y. 2020); United States v. Israel, No. 05-CR-1039 (CM),

2019 WL 6702522, at *11 (S.D.N.Y. Dec. 9, 2019).            Ultimately,

“[t]he defendant has the burden to show he is entitled to a

sentence reduction.”       United States v. Lisi, 440 F. Supp. 3d

246, 249 (S.D.N.Y. 2020).

     If the defendant establishes extraordinary or compelling

circumstances, the Court must still consider the § 3553(a)

sentencing factors “to the extent that they are applicable.”              18

U.S.C. § 3582(c)(1)(A).        Those factors include, inter alia, “(1)




     2 U.S.S.G. § 1B1.13; see also United States v. Jordan, No.
1:19-CR-478-GHW, 2020 WL 4195353, at *2 (S.D.N.Y. July 16, 2020)
(“The relevant policy statement is U.S.S.G. § 1B1.13.”).
                                       5
      Case 1:17-cr-00123-LAP Document 864 Filed 11/09/20 Page 6 of 7



the nature and circumstances of the offense and the history and

characteristics of the defendant”; (2) “the need for the

sentence imposed . . . to reflect the seriousness of the

offense, to promote respect for the law, and to provide just

punishment for the offense”; and (3)       “the need for the sentence

imposed . . . to protect the public from further crimes of the

defendant.”   Id. § 3553(a)(1)-(2).

  III. Discussion

     First, Defendant has not sustained his burden of

demonstrating “extraordinary and compelling” reasons for

release.   He is a young man who suffers from a mild, well-

controlled case of asthma which does not prevent him from

participating in vigorous basketball.       His purported

intellectual disabilities and mental health issues do not place

him at higher risk for COVID-19 and do not seem to have affected

his life, either in or out of the BOP.       Indeed, the Court notes

that Defendant holds a high school diploma.

     Second, even if Defendant had demonstrated “extraordinary

and compelling” reasons for release, the § 3553(a) factors

militate against release.     The same factors that the Court

relied on in denying Defendant’s request for a variance at

sentencing--his prior arrests, his continued drug dealing as

part of a violent street gang while on probation, his lack of

any legitimate employment at any time in his life, and his pre-

                                    6
         Case 1:17-cr-00123-LAP Document 864 Filed 11/09/20 Page 7 of 7



sentence BOP disciplinary record--all demonstrate that, if

released, Defendant would pose a danger to the community.

Defendant’s entire BOP disciplinary history only confirms this

conclusion.

  IV.     Conclusion

     For the reasons set out above, Defendant Guance’s request

for compassionate release, (dkt. no. 837), is DENIED.             The Clerk

of the Court shall mail a copy of this order to Mr. Guance.

SO ORDERED.

Dated:       November 9, 2020
             New York, New York


                               __________________________________
                               LORETTA A. PRESKA
                               Senior United States District Judge




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